IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF
NORTH CAROLINA

STUDENTS FOR FAIR ADMISSIONS, INC.,

Plaintiff,

Vv.
Case No. 1:14-CV-954

UNIVERSITY OF NORTH CAROLINA, et al.,

Defendants.

WAIVER OF THE SERVICE OF SUMMONS

To: W. Ellis Boyle

(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action
along with a copy of the complaint, two copies of this waiver form, and a prepaid
means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons
and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or
objections to the lawsuit, the court’s jurisdiction, and the venue of the action, but
that I waive any objections to the absence of a summons or of service.

I also understand that I, or the entity I represent, must file and serve an
answer or a motion under Rule 12 within 60 days from November 21, 2014, the
date when this request was sent (or 90 days if it was sent outside the United
States). If I fail to do so, a default judgment will be entered against me or the
entity I represent.

Date: [£[9 [tory REALL

Signature of the attorney or wiFépresented-party

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UNIVERSITY OF NORTH CAROLINA;
UNIVERSITY OF NORTH CAROLINA

BOARD OF GOVERNORS; JOHN C. Thowas. @.Shaseha
FENNEBRESQUE, W. LOUIS Printed name
BISSETTE, JR., JOAN TEMPLETON .
PERRY, ROGER AIKEN, HANNAH D. UNiePsele, of Noein Cazola,
GAGE, ANN B. GOODNIGHT, H. Po Rox ILS

FRANK FRAINGER, PETER D. HANS,

THOMAS J. HARRELSON, HENRY W. Chapel 4 itl NC a75g
HINTON, JAMES L. HOLMES, JR. ‘ Address
RODNEY E. HOOD, W. MARTY KOTIS

Ill, G. LEROY LAIL, SCOTT LAMPE, tGenanahnnd Noble ARalin x Lowe
STEVEN B. LONG, JOAN G. E-mail address
MACNEILL, MARY ANN MAXWELL,

W. EDWIN MCMAHAN, W. G. -

CHAMPION MITCHELL, HARI H. 4 Lf 1ea-4 53 a
MATH, ANNA SPANGLER NELSON,

ALEX PARKER, R. DOYLE PARRISH,

THERENCE O. PICKETT, DAVID M.

POWERS, ROBERT S. RIPPY, HARRY

LEO SMITH, JR., J. CRAIG SOUZA,

GEORGE A. SYWASSINK, RICHARD

F. TAYLOR, RAIFORD TRASK IIL,

PHILLIP D. WALKER, LAURA L

WILEY, as members of the Board of

Governors in their official Capacities;

THOMAS W. ROSS, President of the

University of North Carolina in his

Official Capacity

Printed name of party waiving service of summons

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving
unnecessary expenses of serving a summons and complaint. A defendant who is located in the United
States and who fails to return a signed waiver of service requested by a plaintiff located in the United States
will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in
an improper venue, or that the court has no jurisdiction over this matter or over the defendant or the
defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections,
but you cannot object to the absence of a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer
or a motion under Rule 12 on the plaintiff and file a copy with the court. By signing and returning the
waiver form, you are allowed more time to respond than if a summons had been served.

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